Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 1 of 9


                                                              ____FILED___ENTERED
                                                              ____LOGGED_____RECEIVED
                                                              
                                                              12:01 pm, Apr 08 2025
                                                              ATBALTIMORE
                                                              CLERK,U.S.DISTRICTCOURT
                                                              DISTRICTOFMARYLAND
                                                                       TTD
                                                              BY______________Deputy    
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 2 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 3 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 4 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 5 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 6 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 7 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 8 of 9
Case 1:24-cr-00241-GLR   Document 25   Filed 04/08/25   Page 9 of 9
